      Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 1 of 27




 1 DAVID ALBERT SCHWARTZ (DC Bar No. 16142355)
   INSTITUTE FOR PUBLIC REPRESENTATION
 2 Environmental Law and Justice Clinic
   Georgetown University Law Center
 3 600 New Jersey Avenue, NW, Suite 312
   Washington, DC 20001
 4 ds1704@georgetown.edu
   [Admitted Pro Hac Vice]
 5
   FRAN M. LAYTON (State Bar No. 111788)
 6 SHUTE, MIHALY & WEINBERGER LLP
   396 Hayes Street
 7 San Francisco, California 94102
   Telephone: (415) 552-7272
 8 Facsimile: (415) 552-5816
   layton@smwlaw.com
 9
   Attorneys for Amici Curiae
10 ENVIRONMENTAL LAW PROFESSORS

11

12                                  UNITED STATES DISTRICT COURT
13                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
14 CENTER FOR BIOLOGICAL DIVERSITY,                       Case No. 4:19-cv-05206-JST
   DEFENDERS OF WILDLIFE, SIERRA                          Related Case: No. 4:19-cv-06013-JST
15 CLUB, NATURAL RESOURCES DEFENSE                        Related Case: No. 4:19-cv-06812-JST
   COUNCIL, NATIONAL PARKS
16 CONSERVATION ASSOCIATION,                              BRIEF AMICI CURIAE OF
   WILDEARTH GUARDIANS, and THE                           ENVIRONMENTAL LAW PROFESSORS
17 HUMANE SOCIETY OF THE UNITED                           IN SUPPORT OF PLAINTIFFS’ MOTION
   STATES                                                 FOR SUMMARY JUDGMENT
18
                   Plaintiffs,                            Date: July 21, 2021
19                                                        Time: 2:00 p.m.
           v.                                             Courtroom: 6, 2nd Floor
20                                                        Judge: The Honorable Jon S. Tigar
   DAVID BERNHARDT, U.S. Secretary of the
21 Interior, U.S. FISH AND WILDLIFE                       Date Filed: August 21, 2019
   SERVICE, WILBUR ROSS, U.S. Secretary of                Trial Date: None Set
22 Commerce, and NATIONAL MARINE
   FISHERIES SERVICE,
23
                   Defendants.
24

25

26

27

28

     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
        Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 2 of 27




 1                                                        TABLE OF CONTENTS

 2 TABLE OF CONTENTS ...............................................................................................................i

 3
      TABLE OF AUTHORITIES .........................................................................................................ii
 4
      IDENTITIES AND INTERESTS OF THE AMICI ......................................................................1
 5
      BACKGROUND ...........................................................................................................................1
 6
      ARGUMENT .................................................................................................................................3
 7

 8         I.         THE ENDANGERED SPECIES ACT IS THE CORNERSTONE STATUTE FOR
                      SPECIES CONSERVATION AND HAS PROTECTED IMPERILED SPECIES
 9                    FOR OVER FORTY YEARS ......................................................................................3

10         II.        THE ESA’S SUCCESS HINGES ON ITS WELL-CRAFTED STRUCTURE ..........6

11                    A. Section 4 Listing of Species and Designation of Critical Habitats is a Biological
                         Determination that Triggers the ESA’s Full Protections .......................................6
12
                      B. Section 4(d) Establishes Protective Measures to Restore the Population of
13                       Threatened Species Before They Become Endangered and Extinction Becomes
                         More Probable Than Not .......................................................................................9
14
                      C. Section 7 Consultation Integrates and Prioritizes the Protection of Listed Species
15                       in the Primary Missions of All Federal Agencies ...............................................10

16         III.       THE CHALLENGED REGULATIONS UNDERMINE THE ESA’S WELL-
                      CRAFTED STRUCTURE AND THREATEN ITS CONTINUED SUCCESS IN
17                    CONSERVING IMPERILED SPECIES ..................................................................11

18                    A. The Final Regulations Allow Non-Biological Factors to Influence the Services’
                         Listing and Classification Decisions ...................................................................11
19
                      B. The Final Regulations Ignore the Benefits of Reducing Controllable Threats to
20                       Species and Allow Cumulative Impacts to Chip Away at Species and Their
                         Habitat .................................................................................................................14
21
                      C. The Final Regulations Will Leave Species Vulnerable to Climate Change Related
22                       Impacts ................................................................................................................16

23 CONCLUSION ...........................................................................................................................18

24 ADDENDUM .............................................................................................................................19

25

26

27

28
                                                                              i
      Brief Amici Curiae of Environmental Law Professors
      Case No. 4:19-cv-05206-JST
        Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 3 of 27




 1                                                     TABLE OF AUTHORITIES

 2 CASES

 3 Alaska Oil & Gas Ass’n v. Jewell, 815 F.3d 544, (9th Cir. 2016) .................................................7

 4 Animal Legal Def. Fund v. U.S. Dep’t of Interior et al., No. 4:19-cv-06812-JST (N.D. Cal. filed
           Oct. 21, 2019) .....................................................................................................................3
 5
   Ariz. Cattle Growers' Ass'n v. Salazar, 606 F.3d 1160 (9th Cir. 2010) .........................................8
 6
   State of California et al. v. Bernhardt et al., No. 4:19-cv-06013-JST (N.D. Cal. filed Sept. 25,
 7         2019) ..................................................................................................................................3

 8 Ctr. for Biological Diversity et al. v. Bernhardt et al., No. 4:19-cv-05206-JST (N.D. Cal. filed
           Aug. 21, 2019) ...................................................................................................................3
 9
   Def. of Wildlife v. Andrus, 428 F. Supp. 167 (D.D.C. 1977) .........................................................9
10
   Def. of Wildlife v. Babbitt, 958 F.Supp. 670 (D.D.C. 1997) ..........................................................9
11
   Def. of Wildlife v. Norton, 258 F.3d 1136 (9th Cir. 2001) .........................................................7, 9
12
   Greenpeace Action v. Franklin, 982 F.2d 1342 (9th Cir. 1992) ....................................................8
13
   Or. Nat. Res. Council v. Daley, 6 F. Supp. 2d 1139 (D. Or. 1998) ...............................................9
14
   Pub. Citizen Health Research Group v. U.S. Dep’t of Labor, 557 F.3d 165 (3d Cir. 2009) .........8
15
   Tenn. Valley Auth. v. Hill, 437 U.S. 153 (1978) ......................................................................4, 10
16
   STATUTES
17
   16 U.S.C. § 1531(a)(1) ...................................................................................................................4
18
   16 U.S.C. § 1532(5) .................................................................................................................8, 15
19
   16 U.S.C. § 1532(19) .....................................................................................................................9
20
   16 U.S.C. § 1533 ........................................................................................................................2, 6
21
   16 U.S.C. § 1533(a)-(c) ..................................................................................................................6
22
   16 U.S.C. § 1533(a)(3)(A)(i) ..........................................................................................................8
23
   16 U.S.C. § 1533(b)(1)(A) .......................................................................................................7, 11
24
   16 U.S.C. § 1533(b)(2) ..................................................................................................................8
25
   16 U.S.C. § 1533(d) .............................................................................................................6, 9, 11
26
   16 U.S.C. § 1535 ............................................................................................................................6
27
   16 U.S.C. § 1536 ........................................................................................................................2, 6
28
                                                                             ii
      Brief Amici Curiae of Environmental Law Professors
      Case No. 4:19-cv-05206-JST
        Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 4 of 27




 1 16 U.S.C. § 1536(a)(1) .................................................................................................................10

 2 16 U.S.C. § 1536(a)(2) .................................................................................................................10

 3 16 U.S.C. § 1536(a)(3) .................................................................................................................10

 4 16 U.S.C. § 1536(b)(3)(A) ...........................................................................................................10

 5 16 U.S.C. § 1538 ......................................................................................................................6, 11

 6 16 U.S.C. § 1539 ............................................................................................................................6

 7 16 U.S.C. § 1540 ............................................................................................................................6

 8 REGULATIONS

 9 50 C.F.R. § 17.31(a) (effective March 4, 2005 – Sept. 25, 2019) .............................................7, 9
10 50 C.F.R. § 17.31(a) (effective Sept. 26, 2019) ...............................................................14, 15, 17

11 50 C.F.R. § 17.31(c) effective March 4, 2005 – Sept. 25, 2019) ...................................................9

12 50 C.F.R. § 402.02 (effective March 4, 2005 – Sept. 25, 2019) ..................................................12

13 50 C.F.R. § 402.02 (effective Sept. 26, 2019) ...........................................................13, 17, 18, 20

14 50 C.F.R. § 402.14(c) (effective March 4, 2005 – Sept. 25, 2019) .............................................10

15 50 C.F.R. § 402.14(c)(8) (effective Sept. 26, 2019) ....................................................................14

16 50 C.F.R. § 402.14(g) (effective March 4, 2005 – Sept. 25, 2019) .............................................10

17 50 C.F.R. § 402.16 (effective March 4, 2005 – Sept. 25, 2019) ..................................................10

18 50 C.F.R. § 402.16(b) (effective Sept. 26, 2019) .........................................................................14

19 50 C.F.R. § 402.17 (effective Sept. 26, 2019) .............................................................................14

20 50 C.F.R. § 402.17(b) (effective Sept. 26, 2019) ........................................................................17

21 50 C.F.R. § 424.02 (effective Sept. 26, 2019) ........................................................................11,15

22 50 C.F.R. § 424.11 (effective March 4, 2005 – Sept. 25, 2019) .................................................. 7

23 50 C.F.R. § 424.11(b) (effective March 4, 2005 – Sept. 25, 2019) ...............................................7

24 50 C.F.R. § 424.11(d) (1984) .......................................................................................................13

25 50 C.F.R. § 424.11(d) (effective Sept. 26, 2019) .........................................................................16

26 50 C.F.R. § 424.11(e) (effective Sept. 26, 2019) .........................................................................13

27 50 C.F.R. § 424.12 (effective March 4, 2005 – Sept. 25, 2019) ....................................................7

28 50 C.F.R. § 424.12 (effective Sept. 26, 2019) .............................................................................17
                                                                           iii
      Brief Amici Curiae of Environmental Law Professors
      Case No. 4:19-cv-05206-JST
        Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 5 of 27




 1
      50 C.F.R. § 424.12(a)(1)(ii) (effective Sept. 26, 2019) ................................................................16
 2
      50 C.F.R. § 424.12(b) (effective Sept. 26, 2019) .........................................................................17
 3
      Endangered and Threatened Wildlife and Plants; Regulations for Prohibitions to Threatened
 4          Wildlife and Plants 84 Fed. Reg. 44,753 (Aug. 27, 2019) ............................... 2, 13, 15, 17

 5 Endangered and Threatened Wildlife and Plants; Revision of Regulations for Interagency
         Cooperation 84 Fed. Reg. 44,976 (Aug. 27, 2019) ...................................................... 3, 18
 6
   Endangered and Threatened Wildlife and Plants; Revision of the Regulations for Listing Species
 7       and Designating Critical Habitat 84 Fed. Reg. 45,020 (Aug. 27, 2019) ................ 3, 13, 19

 8 Endangered and Threatened Wildlife and Plants; Exclusion of U.S. Captive-Bred Scimitar-Horned
           Oryx, Addax, and Dama Gazelle From Certain Prohibitions,70 Fed. Reg. 52,310 (Sept. 2,
 9         2005) .................................................................................................................................16
10 Endangered and Threatened Wildlife and Plants; Special Rule for the Lesser Prairie-Chicken, 79
           Fed. Reg. 20,074 (Apr. 10, 2014) .................................................................................... 15
11
   OTHER AUTHORITIES
12
   BRIAN CZECH & PAUL R. KRAUSMAN, THE ENDANGERED SPECIES ACT (2001) ............................ 3
13
   Ctr. for Biological Diversity, A Wild Success American Voices on the Endangered Species Act at
14
           40, https://www.biologicaldiversity.org/campaigns/esa_wild_success/pdfs/A_Wild_
15         Success.pdf (last visited Nov. 24, 2020) (Quote from D-Rep. John Dingell) ................... 4

16 CHARLES BERGMAN, WILD ECHOES: ENCOUNTERS WITH THE MOST ENDANGERED ANIMALS IN
          NORTH AMERICA 256 (2003) ............................................................................................. 3
17
   Charlie Savage, Report Finds Meddling in Interior Dept. Actions, N.Y. TIMES (Dec. 15, 2008),
18        https://www.nytimes.com/2008/12/16/washington/16interior.html ................................ 13
19 Cristian Román-Palacios & John J. Wiens, Recent responses to climate change reveal the drivers
           of species extinction and survival, 117(8) PNAS 4211-4213 (2020) .............................. 16
20
   Gerardo Ceballos et al., Biological Annihilation via the Ongoing Sixth Mass Extinction Signaled
21         by Vertebrate Population Losses and Declines, PNAS,
           https://www.pnas.org/content/114/30/E6089 (July 10, 2017) ........................................... 4
22
   IPBES, SUMMARY FOR POLICYMAKERS OF THE GLOBAL ASSESSMENT REPORT ON BIODIVERSITY
23         AND ECOSYSTEM SERVICES OF THE INTERGOVERNMENTAL SCIENCE-POLICY PLATFORM ON
           BIODIVERSITY AND ECOSYSTEM SERVICES (2019)
24          https://doi.org/10.5281/zenodo.3553579 .......................................................................... 5
25 IPBES, The Regional Assessment Report on Biodiversity and Ecosystem Services for the
          Americas (2019) ............................................................................................................... 5
26
   J.B. Ruhl, Section 4 of the ESA—The Cornerstone of Species Protection Law, 8(1) NAT.
27        RESOURCES & ENV’T 26 (1993) ...................................................................................8, 10

28
                                                                            iv
      Brief Amici Curiae of Environmental Law Professors
      Case No. 4:19-cv-05206-JST
        Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 6 of 27




 1 Jeff Curtis & Bob Davison, The Endangered Species Act: Thirty-Eight Years on the Ark, in Open
           Spaces: Voices from the Northwest (2011) ............................................................5, 8, 10
 2
   Jerry Patterson, Lizard must not impede energy future, AMARILLO GLOBE-NEWS (June 11, 2011),
 3         https://www.amarillo.com/opinion/opinion-columnist/guest-opinion-columnist/2011-06-
           11/patterson-lizard-must-not-impede-energy-future#.TsbXcnJuqSo .............................12
 4
   Jessica E. Thomas et al., Demographic Construction from Ancient DNA Supports Rapid
 5         Extinction of the Great Auk, eLife, Nov. 2019, available at
           https://elifesciences.org/articles/47509 .............................................................................3
 6
   JG Mead and ED Mitchell, Atlantic gray whales (1984), in The Gray Whale, London: Academic
 7         Press (ML Jones et al eds. 2005) .......................................................................................3
      John Kostyack et al., Beyond Reserves and Corridors: Policy Solutions to Facilitate the Movement
 8
            of Plants and Animals in a Changing Climate, 61 BIOSCIENCE 713 (2011)…………...17
 9
      KEVIN J. O’BRIEN, AN ETHICS OF BIODIVERSITY 114 (2010) ........................................................1
10
      Kieran Suckling & Martin Taylor, Critical Habitat and Recovery in THE ENDANGERED SPECIES
11           ACT AT THIRTY: VOLUME 1 RENEWING THE CONSERVATION COMMITMENT (2005)…….15

12 KIERAN SUCKLING ET AL., CTR. FOR BIOLOGICAL DIVERSITY, ON TIME, ON TARGET: HOW THE
         ENDANGERED SPECIES ACT IS SAVING AMERICA’S WILDLIFE (2012) ................................5
13
   Mark W. Schwartz, The Performance of the Endangered Species Act, 39 ANN. REV. OF ECOLOGY,
14       EVOLUTION, & SYSTEMATICS 279 (2008) ...........................................................5, 6, 14, 15

15 Martin F.J. Taylor et al., The Effectiveness of the Endangered Species Act: A Quantitative
          Analysis, 55(4) BIOSCIENCE 360 (2005) .................................................................6, 14, 15
16
   Media Kit/Educational Resources, U.S. Fish & Wildlife Serv., https://www.fws.gov/endangered/
17        esa40/resources.html (last visited Oct. 20, 2020) .......................................................... 4, 5

18 U.S. FISH & WILDLIFE SERV., ESA BASICS: 40 YEARS OF CONSERVING ENDANGERED SPECIES
          (2017), https://www.fws.gov/endangered/esa-library/pdf/ESA_basics.pdf .......................4
19
   Sandra Diaz et al., Pervasive Human-Driven Decline of Life on Earth Points to the Need for
20        Transformative Change, 366 SCIENCE 3 (2019) ...........................................................8, 10

21 SOUTHWICK ASSOCIATES, THE ECONOMICS ASSOCIATED WITH OUTDOOR RECREATION, NATURAL
        RESOURCES CONSERVATION AND HISTORIC PRESERVATION IN THE UNITED STATES
22       (2011) ...............................................................................................................................12

23 Success Stories, ENDANGERED SPECIES COALITION, https://www.endangered.org/success-stories/
          (last visited Oct. 26, 2020) ............................................................................................. 5, 7
24
   ENDANGERED SPECIES COALITION, BACK FROM THE BRINK: TEN SUCCESS STORIES CELEBRATING
25        THE ENDANGERED SPECIES ACT (2013) .............................................................................5

26 Timothy Egan, Strongest U.S. Environmental Law May Become Endangered Species, N.Y. TIMES
         (May 26, 1992), https://www.nytimes.com/1992/05/26/us/strongest-us-environment-law-
27       may-become-endangered-species.html?pagewanted=all .................................................18

28
                                                                            v
      Brief Amici Curiae of Environmental Law Professors
      Case No. 4:19-cv-05206-JST
         Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 7 of 27




 1 Transcript of Personnel Hearing, Gary Mowad v. Dep’t of the Interior, DA-1221-13-0262-W-4
          (Aug. 18, 2014) ................................................................................................................ 12
 2
   U.S. Fish & Wildlife Serv., Extinct Species, Midwest Region Endangered Species,
 3        https://www.fws.gov/midwest/endangered/lists/extinct.html ............................................ 3

 4 UNION OF CONCERNED SCIENTISTS, U.S. FISH AND WILDLIFE SCIENCE SURVEY SUMMARY
          (2005) ............................................................................................................................... 13
 5 U.S. FISH & WILDLIFE SERV., FEDERAL AND STATE ENDANGERED AND THREATENED SPECIES

 6               EXPENDITURES FISCAL YEAR 2017 (2018) ....................................................................... 12

 7 YA-WEI LI, DEFENDERS OF WILDLIFE, SECTION 4(D) RULES: THE PERIL AND THE PROMISE
          (2017) ............................................................................................................................... 13
 8
   LEGISLATIVE MATERIALS
 9
   Actions Overview S.1983—93rd Congress (1973-1974), CONGRESS.GOV,
10        https://www.congress.gov/bill/93rd-congress/senate-bill/1983/actions (last visited Dec. 1,
          2020) ...................................................................................................................................1
11
   H.R. Rep. No. 95-1625 (Sept. 25, 1978) ........................................................................................8
12
   H.R. Rep. No. 93-412 (July 27, 1973) ................................................................................. 7, 8, 10
13
   H.R. Rep. No. 97-567 (May 17, 1982) .......................................................................................... 7
14
   Pub. L. No. 93-205 (Dec. 28, 1973) .............................................................................................. 1
15
   S. Rep. No. 93-307 (July 1, 1973) ................................................................................................. 7
16
   Richard R. Nixon, 37th President of the United States, Special Message to the Congress Outlining
17        the 1972 Environmental Program (February 08, 1972) .................................................... 1

18 DOCKET ENTRIES

19 Order to Adjust Case Management Deadlines, Ctr. for Biological Diversity et al., v. Bernhardt et
          al., No. 4:19-cv-05206-JST (N.D. Cal. Nov. 19, 2020) (ECF No. 111) ............................3
20

21

22

23

24

25

26

27

28
                                                                             vi
      Brief Amici Curiae of Environmental Law Professors
      Case No. 4:19-cv-05206-JST
      Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 8 of 27




 1                            IDENTITIES AND INTERESTS OF THE AMICI

 2           Amici curiae are seventeen professors of environmental law. Amici’s expertise includes the

 3 Endangered Species Act, the National Environmental Policy Act, the Administrative Procedure

 4 Act, and natural resources management, among other areas of law. Combined, amici have decades

 5 of experience teaching these topics and have litigated numerous Endangered Species Act cases in

 6 many courts, including the United States Supreme Court. Amici have an interest in ensuring that

 7 the federal government retains its authority to use the Endangered Species Act to protect all listed

 8 species, as well as the nation’s biodiversity. The list of amici and their school affiliations is

 9 located in the Addendum.
10           This amici curiae brief is filed upon consent of all parties.
11                                                BACKGROUND

12           On February 8, 1972, then-President Richard Nixon (“Nixon”) made an address to

13 Congress recognizing the responsibility of mankind as conservator of the natural world and

14 outlining his environmental policy to fulfill this responsibility. Richard R. Nixon, 37th President of

15 the United States, Special Message to the Congress Outlining the 1972 Environmental Program

16 (February 08, 1972). In the address, Nixon recognized that the Endangered Species Preservation

17 Act of 1966 “simply [did] not provide the kind of management tools needed to act early enough to

18 save vanishing species.” Nixon encouraged Congress to enact “a stronger law to protect

19 endangered species.” Id.

20           Nixon’s address provoked quick and decisive action from Congress. The Endangered

21 Species Act of 1973 (“ESA” or the “Act”) was nearly unanimously approved and signed into law

22 in less than a year after its inception. Actions Overview S.1983—93rd Congress (1973-1974),

23   CONGRESS.GOV,     https://www.congress.gov/bill/93rd-congress/senate-bill/1983/actions; Pub. L. 93-

24 205. The ESA encountered no significant opposition in Congress and was met with widespread

25 public support. KEVIN J. O’BRIEN, AN ETHICS OF BIODIVERSITY 114 (2010). This broad approval

26 was particularly astonishing given the ESA’s sweeping and comprehensive approach to

27 conserving endangered and threatened species of fish, wildlife, and plants. Id. As Nixon had

28 proposed, the ESA “provide[s] for early identification…, make[s] taking of endangered species a
                                                          1
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
      Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 9 of 27




 1 Federal offense…, and permit[s] protective measures to be taken before a species is so depleted

 2 that regeneration is difficult or impossible.” Nixon, Special Message to the Congress.

 3           The ESA provides five integral protections to threatened and endangered species: (1)

 4 listing classifications; (2) critical habitat designations; (3) take prohibitions; (4) mandatory

 5 interagency consultation; and (5) prohibitions on federal activities that jeopardize the recovery of

 6 listed species or alter designated critical habitats. 16 U.S.C. §§ 1533, 1536. Congress deliberately

 7 structured these protective mechanisms such that they build on one another and ensure that neither

 8 federal activities nor a lack of agency funding undermine the protection of listed species.

 9           The U.S. Fish and Wildlife Service (“FWS”) and the National Marine Fisheries Service
10 (“NMFS”) (collectively, “the Services”) have jointly administered the ESA for nearly forty years

11 with great success and without any significant changes to the implementing regulations. However,

12 in 2019, despite widespread opposition from the scientific and conservation communities, the

13 Services finalized amendments to regulations implementing ESA Section 4 listing decisions and

14 critical habitat designations, Section 4(d) protections for threatened species, and Section 7

15 interagency consultation requirements. Endangered and Threatened Wildlife and Plants;

16 Regulations for Prohibitions to Threatened Wildlife and Plants, 84 Fed. Reg. 44,753 (Aug. 27,

17 2019) (Section 4(d) Regulations); Endangered and Threatened Wildlife and Plants; Revision of the

18 Regulations for Listing Species and Designating Critical Habitat, 84 Fed. Reg. 45,020 (Aug. 27,

19 2019) (Section 4 Regulations); Endangered and Threatened Wildlife and Plants; Revision of

20 Regulations for Interagency Cooperation, 84 Fed. Reg. 44,976 (Aug. 27, 2019) (Section 7

21 Regulations). In pertinent part, the final regulations repeal the blanket “take” protections afforded

22 to threatened species, permit the inclusion of economic factors for consideration in listing

23 decisions, and limit the use and efficacy of interagency consultations. See id. These amendments

24 significantly weaken the individual conservation mandates provided in Sections 4, 4(d), and 7 of

25 the ESA, and, taken together, destabilize the Act’s carefully crafted structure—leaving more

26 species vulnerable to endangerment and extinction.

27           Several non-profit organizations with an interest in environmental conservation
28
                                                          2
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 10 of 27




 1 (“Environmental Group Plaintiffs” or “EGPs”) 1 filed this lawsuit challenging the legality of the

 2 finalized regulations under the ESA, the Administrative Procedure Act, and the National

 3 Environmental Policy Act. 2 The court is currently handling dueling motions for summary

 4 judgment from the EGPs and the Federal Defendants. See Order to Adjust Case Management

 5 Deadlines, Ctr. for Biological Diversity et al., v. Bernhardt et al., No. 4:19-cv-05206-JST (N.D.

 6 Cal. Nov. 19, 2020) (ECF No. 111). Amici curiae Environmental Law Professors now respectively

 7 submit their position to aid the Court in adjudicating this matter.

 8                                                  ARGUMENT

 9       I.      THE ENDANGERED SPECIES ACT IS THE CORNERSTONE STATUTE FOR
                 SPECIES CONSERVATION AND HAS PROTECTED IMPERILED SPECIES
10               FOR OVER FORTY YEARS.
11            In the 366 years between British colonization of North America and the enactment of the
12 ESA, more than 500 North American species went extinct due to overhunting and commercial

13 sale. BRIAN CZECH & PAUL R. KRAUSMAN, THE ENDANGERED SPECIES ACT (2001). These losses

14 include Eastern Elk and other plains animals, 3 large predators such as Cascade Mountain Wolves, 4

15 marine mammals such as Atlantic Gray Whales, 5 and coastal wildlife such as Great Auks. 6 In

16 passing the ESA, Congress declared that extinction related to human activity is antithetical to

17 mankind’s responsibility as nature’s conservator because “only natural extinction is part of natural

18

19   1
       Ctr. for Biological Diversity et al. v. Bernhardt et al., No. 4:19-cv-05206-JST (N.D. Cal. filed
     Aug. 21, 2019). Center for Biological Diversity, Defenders of Wildlife, Sierra Club, Natural
20   Resources Defense Council, National Parks Conservation Association, WildEarth Guardians, and
     the Humane Society of the United States are collectively the Environmental Group Plaintiffs.
21
     2
       See Animal Legal Def. Fund v. U.S. Dep’t of Interior et al., No. 4:19-cv-06812-JST (N.D. Cal.
22   filed Oct. 21, 2019); State of California et al. v. Bernhardt et al., No. 4:19-cv-06013-JST (N.D.
     Cal. filed Sept. 25, 2019).
23   3
       Extinct as of 1880. U.S. Fish & Wildlife Serv., Extinct Species, Midwest Region Endangered
     Species, https://www.fws.gov/midwest/endangered/lists/extinct.html (last visited Nov. 04 2020).
24
     4
       CHARLES BERGMAN, WILD ECHOES: ENCOUNTERS WITH THE MOST ENDANGERED ANIMALS IN
25   NORTH AMERICA 256 (2003).
     5
       JG Mead and ED Mitchell, Atlantic gray whales (1984), in The Gray Whale, London: Academic
26   Press (ML Jones et al eds. Pp. 33-53 2005) (Extinct in America as of mid-1700s due to over
     whaling).
27
     6
       Jessica E. Thomas et al., Demographic Construction from Ancient DNA Supports Rapid
28   Extinction of the Great Auk, eLife, Nov. 2019, Abstract (Great Auk extinction in mid-1700s tied
     to the use of the species for its feathers), available at https://elifesciences.org/articles/47509.
                                                          3
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 11 of 27




 1 order.” Ctr. for Biological Diversity, A Wild Success American Voices on the Endangered Species

 2 Act at 40, https://www.biologicaldiversity.org/campaigns/esa_wild

 3 _success/pdfs/A_Wild_Success.pdf (Quote from D-Rep. John Dingell).

 4           Congress intended the ESA to protect species from extinction as “a consequence of

 5 economic growth and [societal] development un-tempered by adequate concern and conservation.”

 6 16 U.S.C. § 1531(a)(1). To accomplish this aim, Congress designed the ESA with measures “to

 7 halt and reverse the trend towards species extinction, whatever the cost.” Tenn. Valley Auth. v.

 8 Hill, 437 U.S. 153, 184 (1978). These measures include the identification of imperiled species and

 9 their habitats, and the protection of both from federal activity that may directly or incidentally
10 jeopardize species’ continued existence. Congress intended the Services to facilitate species

11 conservation until the species “recover” to the point where they no longer require the ESA’s

12 safeguards. See Media Kit/Educational Resources, U.S. Fish & Wildlife Serv.,

13 https://www.fws.gov/endangered/esa40/ resources.html; U.S. FISH & WILDLIFE SERV., ESA

14 BASICS: 40 YEARS OF CONSERVING ENDANGERED SPECIES (2017), https://www.fws.gov/

15 endangered/esa-library/pdf/ESA_basics.pdf.

16           Even with the ESA’s protections, human activities of the last fifty years have altered the

17 natural world at a rate “unprecedented in human history.” IPBES, SUMMARY FOR POLICYMAKERS

18   OF THE GLOBAL ASSESSMENT REPORT ON BIODIVERSITY AND ECOSYSTEM SERVICES OF THE

19 INTERGOVERNMENTAL SCIENCE-POLICY PLATFORM ON BIODIVERSITY AND ECOSYSTEM SERVICES 5

20 (2019) https://doi.org/10.5281/zenodo.3553579. Today, human activities linked to habitat

21 destruction and climate change threaten more species with extinction than ever before. Id.

22 Biologists believe there is only a short twenty- to thirty-year window to effectively combat mass

23 extinction, and that such efforts, if undertaken, will require transformative change. Gerardo

24 Ceballos et al., Biological Annihilation via the Ongoing Sixth Mass Extinction Signaled by

25 Vertebrate Population Losses and Declines, PNAS, https://www.pnas.org/content/114/30/E6089

26 (July 10, 2017).

27           Through the ESA, Congress committed the entire country to the task of conserving every

28 species at risk of extinction, recognizing that “the value of genetic heritage is, quite literally,
                                                          4
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 12 of 27




 1 incalculable.” Jeff Curtis & Bob Davison, The Endangered Species Act: Thirty-Eight Years on the

 2 Ark, in Open Spaces: Voices from the Northwest 139 (2011) (Spoken by the House Marchant

 3 Marine and Fisheries Committee, now defunct). 7 In developing the ESA, Congress examined the

 4 relationship between species diversity and mankind, and determined that a symbiotic relationship

 5 connects ecological and human health. See Curtis & Davison, The Endangered Species Act:

 6 Thirty-Eight Years on the Ark at 139. Congress developed an awareness that “as we homogenize

 7 the habitats in which [imperiled] plants and animals evolved, we threaten their—and our own—

 8 genetic heritage.” Id.

 9           The ESA boasts a ninety-nine percent success rate in preventing extinction, Media
10 Kit/Educational Resources, U.S. Fish & Wildlife Serv., https://www.fws.gov/endangered/esa40/

11 resources.html, and has saved several of our most iconic species from extinction, including the

12 bald eagle, the gray wolf, and the green sea turtle, among many others. Success Stories,

13
     ENDANGERED SPECIES COALITION, https://www.endangered.org/success-stories/ (last visited Oct.
14
     26, 2020); ENDANGERED SPECIES COALITION, BACK FROM THE BRINK: TEN SUCCESS STORIES
15
     CELEBRATING THE ENDANGERED SPECIES ACT AT 40 (2013). Without the ESA’s protections,
16

17 fifteen percent of listed species would have gone extinct by 2006, and an even greater percentage

18 likely would have faced extinction by 2018, when the contested regulations were proposed.

19 KIERAN SUCKLING ET AL., CTR. FOR BIOLOGICAL DIVERSITY, ON TIME, ON TARGET: HOW THE

20 ENDANGERED SPECIES ACT IS SAVING AMERICA’S WILDLIFE 2 (2012).

21
             Simply put: the rate of extinction for species unprotected by the ESA is much higher than
22
     the rate of extinction for protected species. Id. Further, protected species are three times more
23
     likely than unprotected species to recover than to go extinct. Mark W. Schwartz, The Performance
24
     of the Endangered Species Act, 39 ANN. REV. OF ECOLOGY, EVOLUTION, & SYSTEMATICS 279, 290
25

26
     7
27   Some scientists and economists have tried to quantify the value of nature’s genetic diversity,
   finding that nature provides $24 trillion of non-monetized benefits to humans each year through
28 food security, clean water, and reduction in coastal flooding. IPBES, The Regional Assessment
   Report on Biodiversity and Ecosystem Services for the Americas 56 (2019).
                                                     5
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 13 of 27




 1 (2008). Listing under the ESA, designation of critical habitat, and the regulation of “take”

 2 collectively promote the survival and recovery of imperiled species. Martin F.J. Taylor et al., The

 3 Effectiveness of the Endangered Species Act: A Quantitative Analysis, 55(4) BIOSCIENCE 360,

 4 361-65 (2005); Schwartz, The Performance of the Endangered Species Act, 39 ANN. REV. OF

 5 ECOLOGY, EVOLUTION, & SYSTEMATIcs at 290. The ESA’s long history of success in protecting

 6 and conserving species is due to the statute’s carefully crafted structure and longstanding

 7 implementing regulations.

 8       II.      THE ESA’S SUCCESS HINGES ON ITS WELL-CRAFTED STRUCTURE.

 9             The ESA’s structure articulates a clear strategy to accomplish its conservation purposes.
10 Generally, each section of the statute following the statement of purpose sets out a policy initiative

11 and procedures to accomplish that initiative. These policy initiatives build on one another, with

12 one section of the statute tending to trigger the requirements of the next. These initiatives are as

13 follows: species designation as endangered or threatened, 16 U.S.C. § 1533; critical habitat

14 designation, id.; cooperation between the Services, states, other federal agencies, and international

15 bodies, id. §§ 1535, 1536; the Services’ duty to manage the conservation program and base

16 determinations on the best biological information, id. § 1533; protective measures for endangered

17 species, id. §§ 1533(d), 1538; exceptions to prohibited acts against endangered species, id. § 1539;

18 and penalties and enforcement procedures for violations of the ESA, id. § 1540.

19                A. Section 4 Listing of Species and Designation of Critical Habitats is a Biological
                     Determination that Triggers the ESA’s Full Protections.
20

21             Listing a species as endangered or threatened under Section 4 is a threshold status that
22 triggers the rest of the ESA’s protections. See id. § 1533. In pertinent part, Section 4 provides the

23 statutory framework upon which the Services may list or reclassify a species as threatened or

24 endangered; permits the Services to delist species; and requires the Services to designate critical

25 habitat for listed species. Id. § 1533(a)-(c). The prior long-standing regulations implementing

26 Section 4 required that listing and reclassification decisions be made solely on the basis of the best

27 available science, without reference to economic or other impacts; that decisions to delist a species

28 be substantiated by data showing the species is clearly extinct, recovered, or was initially
                                                          6
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 14 of 27




 1 classified in error; and described the rare circumstances in which the Services could find the

 2 designation of critical habitat to be imprudent. 50 C.F.R. §§ 424.11, 424.12 (effective March 4,

 3 2005 – Sept. 25, 2019).

 4 The “Threatened” Classification Was Intended to Prevent Species from Becoming Endangered.

 5           The purpose of Section 4 is “not only to protect the last remaining members of the species

 6 but to take steps to ensure that species which are likely to be threatened with extinction never

 7 reach the state of being presently endangered.” Def. of Wildlife v. Norton, 258 F.3d 1136, 1142

 8 (9th Cir. 2001) (quoting legislative history); see also Alaska Oil & Gas Ass’n v. Jewell, 815 F.3d

 9 544, 555 (9th Cir. 2016) (noting that the ESA is “concerned with protecting the future of the
10 species, not merely the preservation of existing [animals]”). Congress placed great importance on

11 “extending protections to species that may become endangered in the future.” H.R. Rep. No. 93-

12 412 at 2, S. Rep. No. 93-307 at 3. The purpose of creating a separate threatened designation to

13 protect those species before the danger of extinction becomes imminent and long-term action is

14 required. S. Rep. No. 93-307 at 3. For nearly forty years, the FWS applied blanket protections to

15 threatened species. 50 C.F.R. § 17.31(a) (effective March 4, 2005 – Sept. 25, 2019) (first enacted

16 in April 1978 – Protection for Threatened Species of Wildlife, 43 Fed. Reg. 18181 (Apr. 28,

17 1978)). This approach was both efficient and effective, as evidenced by the ESA’s successful

18 conservation of threatened species. Success Stories, ENDANGERED SPECIES COALITION,

19 https://www.endangered.org/success-stories/.

20 Listing and Delisting Decisions are Based Solely on the Best Available Science.

21           As originally enacted, the ESA dictates that “economic considerations have no relevance to

22 determinations regarding the [listing] status of species,” because the question of whether a species

23 has experienced sufficient decline to justify listing is not based on economics, but on biology.

24 H.R. Rep. No. 97-567, at 19 (1982). The ESA requires the Services to consider only the best

25 available science on the biological security of a species when making a listing decision. 16 U.S.C.

26 § 1533(b)(1)(A); 50 C.F.R. § 424.11(b) (effective March 4, 2005 – Sept. 25, 2019). Congress

27 revised the ESA to clarify that listing decisions are to be based solely on the best available science

28 after then-Secretary of the Interior James Watt insisted that listing decisions be subject to
                                                          7
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 15 of 27




 1 economic analysis and veto by the Office of Management and Budget when they had negative

 2 economic consequences. Curtis & Davison, The Endangered Species Act: Thirty-Eight Years on

 3 the Ark, at 141-42. The best available science “standard does not require that FWS act only when

 4 it can justify its decision with absolute confidence.” Ariz. Cattle Growers' Ass'n v. Salazar, 606

 5 F.3d 1160, 1164 (9th Cir. 2010) (citing Pub. Citizen Health Research Group v. U.S. Dep’t of

 6 Labor, 557 F.3d 165, 176 (3d Cir. 2009)); Greenpeace Action v. Franklin, 982 F.2d 1342, 1354-55

 7 (9th Cir. 1992). Rather, the ESA encourages the Services to make listing decisions in the face of

 8 uncertainty because of the permanence of extinction. See Salazar, 606 F.3d at 1164.

 9        Critical Habitat Designations were Intended to Support the Recovery of Listed Species by
                   Countering Habitat Destruction, the Primary Cause of Species Decline.
10

11           Unlike species listing decisions, the ESA allows the Services to account for economic

12 considerations in critical habitat designations. 16 U.S.C. § 1533(b)(2). The change in factors

13 appropriate for consideration with respect to critical habitat designation represents the balance

14 Congress struck between the responsibility of mankind as species conservator, and the competitive

15 need of United States for continued development and invention.

16           In developing the ESA, Congress determined that “the most significant [threat facing

17 imperiled species] has proven also to be the most difficult to control: the destruction of critical

18 habitat.” H.R. Rep. 93-412. Congress provided critical habitat designation as a mechanism for the

19 Services to protect the environment in which imperiled species reside and on which they depend

20 for recovery. See 16 U.S.C. §§ 1532(5), 1533(a)(3)(A)(i). Congress recognized that protecting an

21 imperiled species’ critical habitat from destruction had the incidental effect of protecting all the

22 species that reside in the same environment. H.R. Rep. No. 95-1625 at 17 (Sept. 25, 1978), U.S.

23 Code Cong. & Admin. News 1978, pp. 9453, 9467. Congress intended the Services to designate

24 critical habitat for most species because the designations greatly benefit the unlisted majority of

25 species. Id. Despite this, only 20 percent of listed species have designated critical habitat, and

26 habitat destruction remains the predominant cause of species endangerment. Sandra Diaz et al.,

27 Pervasive Human-Driven Decline of Life on Earth Points to the Need for Transformative Change,

28 366 SCIENCE 3, 4 (2019); J.B. Ruhl, Section 4 of the ESA—The Cornerstone of Species Protection
                                                          8
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 16 of 27




 1 Law, 8(1) NAT. RESOURCES & ENV’T 26, 70 (1993).

 2               B. Section 4(d) Establishes Protective Measures to Restore the Population of
                    Threatened Species Before They Become Endangered and Their Extinction
 3                  Becomes More Probable Than Not.

 4           Congress created Section 4(d) to provide the Services with a mechanism to implement

 5 protections for threatened species that halt their progress towards endangerment and extinction.

 6 Courts agree that the Services must do more than simply determine that a species is threatened—

 7 they are required to take affirmative steps to prevent the species from becoming endangered. Def.

 8 of Wildlife v. Norton, 258 F.3d at 1142 (Congress intended to give FWS "the ability to… take

 9 steps to insure that species which are likely to be threatened with extinction never reach the state
10 of being presently endangered.") (quoting 120 Cong. Rec. 25,668 (1973)); Or. Nat. Res. Council v.

11 Daley, 6 F. Supp. 2d 1139, 1152 (D. Or. 1998) (finding the purpose of listing species is not simply

12 to memorialize those on the path to extinction, but also to compel those changes needed to save

13 the species from extinction); Def. of Wildlife v. Andrus, 428 F. Supp. 167, 170 (D.D.C. 1977)

14 (finding the Service must do more than merely avoid the elimination of a protected species—it

15 must recover the species).

16           Section 4(d) requires the Services to issue regulations to conserve threatened species,
17 including extending any or all Section 9 “take” 8 prohibitions to threatened species. 16 U.S.C. §

18 1533(d). The Services’ prior long-standing regulation implementing Section 4(d) extended a

19 blanket protection to threatened species where nearly all Section 9 “take” prohibitions were

20 applicable to threatened species immediately upon listing. 50 C.F.R. § 17.31(a) (effective March

21 4, 2005 – Sept. 25, 2019). For certain species, the FWS promulgated “special” protective

22 regulations which described the applicable prohibitions and exceptions for that species, but that

23 was a rare occurrence. Id. § 17.31(c) (effective March 4, 2005 – Sept. 25, 2019). Although Section

24 4(d) provides the Services with discretionary authority as to how they “take preventative measures

25 before a species is conclusively headed for extinction,” the FWS has consistently applied the

26 blanket approach for nearly 40 years. Def. of Wildlife v. Babbitt, 958 F.Supp. 670, 679–80 (D.D.C.

27
     8
28    The ESA defines “take” as “to harass, harm, pursue, hunt, shoot, would, kill, trap, capture, or
     collect, or to attempt to engage in any such conduct.” 16 U.S.C. § 1532(19).
                                                      9
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 17 of 27




 1 1997) (emphasis added).

 2               C. Section 7 Consultation Integrates and Prioritizes the Protection of Listed
                    Species in the Primary Missions of All Federal Agencies.|
 3

 4           Under Section 7, “all… federal agencies shall… utilize their authorities in furtherance of

 5 the purposes of [the ESA] by carrying out programs for the conservation of endangered species

 6 and threatened species.” 16 U.S.C. § 1536(a)(1). In Section 7, Congress made a conscious

 7 decision to prioritize the conservation of endangered species over the primary missions of all other

 8 federal agencies. Curtis & Davison, The Endangered Species Act: Thirty-Eight Years on the Ark,

 9 at 144. Section 7 clearly bestows a duty to conserve listed species on all federal agencies. In fact,
10 “one would be hard pressed to find a statutory provision whose terms were any plainer than those

11 in Section 7.” TVA v. Hill, 437 U.S. at 173. This duty requires all federal agencies to participate in

12 consultation with the Services prior to commencing a federally authorized or funded action to

13 “insure” that the action will not jeopardize the continued existence of any listed species or

14 adversely modify designated critical habitat. 16 U.S.C. § 1536(a)(2).

15           The long-standing prior regulations implementing Section 7 required a federal agency
16 proposing a project to consult with the Services and provide them with a report describing the

17 anticipated activity, a wide range of potential alternatives, and an analysis of their environmental

18 impacts. 50 C.F.R. § 402.14(c) (effective March 4, 2005 – Sept. 25, 2019). The proposing agency

19 was required to commit to, or to have already taken, mitigation actions before the Services

20 considered any beneficial effects of the proposed activity. 16 U.S.C. § 1536(b)(3)(A). Proposing

21 agencies and the Services were required to reinitiate consultation, if a new species listing or new

22 designation of critical habitat might have affected a previously approved action. Id. § 1536(a)(3);

23 50 C.F.R. §§ 402.14(g), 402.02, 402.16 (effective March 4, 2005 – Sept. 25, 2019). During

24 consultation, the Services were also required to account for any proposed project’s incremental

25 alteration to, and degradation of, critical habitat. 16 U.S.C. § 1536(b)(3)(A). The Services’

26 assessment of impacts to critical habitat are essential to the mission of the ESA because habitat

27 destruction is the primary cause of species decline. H.R. Rep. 93-412; Diaz et al., at 4; J.B. Ruhl,

28 at 70. Therefore, these assessments guarantee that all the other conservation efforts performed
                                                          10
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 18 of 27




 1 under the ESA are not undermined, ensuring that the regulatory scheme is effectively carried out.

 2       III.      THE CHALLENGED REGULATIONS UNDERMINE THE ESA’S WELL-
                   CRAFTED STRUCTURE AND THREATEN ITS CONTINUED SUCCESS IN
 3                 CONSERVING IMPERILED SPECIES.

 4              The challenged final regulations collectively interact to dismantle key species’ protections

 5 afforded under the ESA. The challenged regulations grant excessive discretion to the Services in

 6 implementing their duties and invite political interference in what should be purely biological

 7 determinations. Several significant definitional changes made under the guise of “clarity”

 8 contribute to this ambiguity. See 50 C.F.R. § 424.02 (effective Sept. 26, 2019) (altering definition

 9 of “physical or biological features” in critical habitat designation); id. § 424.11(d) (providing new
10 definition of “foreseeable future” in the classification decision); id. § 402.02 (altering definitions

11 of “destruction or adverse modification” of critical habitat, “effects of an action” considered in

12 consultation, and “environmental baseline” in consultation). The contested regulations effectively

13 dismantle the ESA from the inside—undermining its well-crafted structure and ultimately leaving

14 species unprotected.

15                 A. The Final Regulations Allow Non-Biological Factors to Influence the Services’
                      Listing and Classification Decisions.
16

17              The final regulations allow the Services to reference non-biological factors in listing
18 determinations, 84 Fed. Reg. at 45,024 (removing “without reference to possible economic or

19 other impacts” from listing criteria), and strip threatened species of statutory protections. 84 Fed.

20 Reg. at 44,753 (“Species listed or reclassified as threatened species after the effective date of this

21 rule would have protective regulations only if the Service promulgates a species-specific rule.”).

22 Together, these provisions politicize listing decisions by permitting bases for decisions other than

23 the best available science. See 16 U.S.C. § 1533(b)(1)(A) (requiring that listing determinations be

24 made “solely on the basis of the best scientific and commercial data available”). Because a

25 species’ protections now hinge upon its classification (i.e., as endangered rather than threatened),

26 the initial listing determination is now more important than ever. Compare 16 U.S.C. § 1538

27 (prohibiting “take” of endangered species) with 16 U.S.C. § 1533(d) (permitting the Secretary to

28 extend the “take” prohibitions of § 1538 to threatened species) and 50 C.F.R. § 17.31(a) (noting
                                                          11
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 19 of 27




 1 that the prohibitions in 50 C.F.R. § 17.21 do not apply to species listed or re-classified as

 2 threatened after September 26, 2019 “unless the Secretary has promulgated species-specific

 3 provisions”).

 4           Any reference to possible economic impacts in listing determinations will likely support

 5 classifying species as threatened, rather than endangered, thereby excluding those species from

 6 ESA protections due to the revised Section 4(d) regulation. 9 Allowing economic data to be

 7 considered in the listing process facilitates the argument that a species’ classification should be

 8 less protective than what is biologically necessary because data reflecting the economic impacts of

 9 listing are likely to account for the costs of species conservation, but not the benefits. Compare
10 U.S. FISH & WILDLIFE SERV., FEDERAL AND STATE ENDANGERED AND THREATENED SPECIES

11 EXPENDITURES FISCAL YEAR 2017 57 (2018) (finding $1,289,373,123 in total species expenditures

12 in FY 2017) with SOUTHWICK ASSOCIATES, THE ECONOMICS ASSOCIATED WITH OUTDOOR

13 RECREATION, NATURAL RESOURCES CONSERVATION AND HISTORIC PRESERVATION IN THE UNITED

14 STATES 3 (2011) (finding that ecosystem services provided by natural habitat in the continental

15 United States amount to $1.6 trillion annually). The release of this skewed data may inspire

16 political opposition to listing determinations or encourage the Services to classify a species as less

17 imperiled than the best available science reflects. 10

18           Further, the final regulations permit the Services to pursue an initial threatened

19 classification, or a reclassification from endangered to threatened, for a species in order to benefit

20 industry, at the expense of imperiled species. 11 Under the final regulations, threatened species will

21
     9
22     Although the Services contend that economic data will not impact listing decisions, the
     collection and public dissemination of the data indicates that the Services intend this information
23   to have some effect upon the listing process. Otherwise, collection would be an illogical waste of
     scarce agency resources.
24   10
        For example, political interference prevented the listing of the Dunes Sagebrush Lizard. See
     e.g., Jerry Patterson, Lizard must not impede energy future, AMARILLO GLOBE-NEWS (June 11,
25   2011), https://www.amarillo.com/opinion/opinion-columnist/guest-opinion-columnist/2011-06-
     11/patterson-lizard-must-not-impede-energy-future#.TsbXcnJuqSo; see also Transcript of
26   Personnel Hearing, Gary Mowad v. Dep’t of the Interior, DA-1221-13-0262-W-4. (Aug. 18,
     2014).
27
     11
        There are numerous examples of FWS and NMFS officials who either come from industry, or
28   retain financial ties to industry, performing their duties under the ESA to benefit industry. See e.g.,
                                                          12
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 20 of 27




 1 receive Section 9 take protections only if the Services promulgate species-specific protective

 2 regulations, which is not required. 84 Fed. Reg. at 44,753; 50 C.F.R. § 17.31(a) (noting that the

 3 prohibitions in 50 C.F.R. § 17.21 do not apply to species listed or re-classified as threatened after

 4 September 26, 2019 “unless the Secretary has promulgated species-specific provisions”). If the

 5 Services refuse to promulgate species-specific regulations, industry will benefit from reduced

 6 compliance burdens because no Section 9 take prohibitions will apply to the newly-listed or

 7 reclassified threatened species, and Section 7 consultation will be the only regulatory burden.

 8 Historically, species-specific protective regulations were criticized for being more permissive of

 9 human activity—including industry activity—than protective of species. YA-WEI LI, DEFENDERS
10   OF WILDLIFE, SECTION 4(D) RULES: THE PERIL AND THE PROMISE           2 (2017); see also Endangered

11 and Threatened Wildlife and Plants; Special Rule for the Lesser Prairie-Chicken, 79 Fed. Reg.

12 20,074 (Apr. 10, 2014) (authorizing high-impact development activities that threatened the

13 species’ habitat and members); Endangered and Threatened Wildlife and Plants; Exclusion of U.S.

14 Captive-Bred Scimitar-Horned Oryx, Addax, and Dama Gazelle From Certain Prohibitions,70

15 Fed. Reg. 52,310 (Sept. 2, 2005) (permitting the canned-hunting industry to breed and offer the

16 species for on-site sport hunting).

17           Lastly, the final regulations not only slacken the criteria to delist species at the expense of

18 species’ recovery, but they also alter the Services’ decision to delist from a discretionary to a

19 mandatory duty. Compare 50 C.F.R. § 424.11(d) (1984) with 50 C.F.R. § 424.11(e) (2019). The

20 new delisting criteria are also far less stringent than prior criteria, which maintained protections

21 for species until data demonstrated the protections were no longer warranted. 12 Now, species will

22 be delisted without rigorous proof of recovery or extinction. 50 C.F.R. § 424.11(e) (2019).

23
   UNION OF CONCERNED SCIENTISTS, U.S. FISH AND WILDLIFE SCIENCE SURVEY SUMMARY 1 (2005)
24 (“More than half of all respondents (56%) knew of cases where ‘commercial interests have
   inappropriately induced the reversal or withdrawal of scientific conclusions or decisions through
25 political intervention;’ and [m]ore than two out of three staff scientists (70%) and nearly 9 out of
   10 scientist managers (89%) knew of cases ‘where U.S. Department of Interior political
26 appointees have injected themselves into Ecological Services determinations.’”); Charlie Savage,
   Report Finds Meddling in Interior Dept. Actions, N.Y. TIMES (Dec. 15, 2008),
27 https://www.nytimes.com/2008/12/16/washington/16interior.html.

28 12 The prior regulations only permitted delisting if robust evidence proved a species to be extinct,
   recovered, or originally classified in error. 50 C.F.R. § 424.11(d) (1984).
                                                      13
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 21 of 27




 1 Further, the mandate that species meeting the new, lessened criteria be delisted prioritizes

 2 removing species from federal protection over the conservation of species. These changes will

 3 leave imperiled species, including near-extinct species, totally stripped of protections through

 4 Section 9 take prohibitions and Section 7 consultation, further risking extinction.

 5               B. The Final Regulations Ignore the Benefits of Reducing Controllable Threats to
                    Species and Allow Cumulative Impacts to Chip Away at Species and Their
 6                  Habitats.

 7           The prior regulations identified what actions would harm species and identified actions for

 8 agencies, including the Services, to take to prevent those threats. The challenged final regulations

 9 collectively ignore impending threats to species and permit cumulative threats that incrementally
10 harm species and their habitats to go unaddressed until those threats would foreclose the

11 possibility of species survival.

12           First, the Services underestimate the benefits of blanket Section 9 protections for
13 threatened species. Stripping newly-listed or reclassified threatened species of all Section 9

14 protections unless and until the Services decide to promulgate a species-specific protective

15 regulation ignores the benefits of reducing controllable threats to species. Specifically, even if a

16 manner of “take” prohibited in Section 9 is not a species’ primary threat, when it comes to

17 extinction, it is always better to be over-protective than under-protective. Martin F.J. Taylor et al.,

18 The Effectiveness of the Endangered Species Act, 55(4) BIOSCIENCE at 361-65; Schwartz, The

19 Performance of the Endangered Species Act, 39 ANN. REV. OF ECOLOGY, EVOLUTION, &

20 SYSTEMATICS at 290. Under these final regulations, threatened species have essentially no

21 protections because promulgation of a species-specific protective regulation is not required, 84

22 Fed. Reg. at 44,753; 50 C.F.R. § 17.31(a) (noting that the prohibitions in 50 C.F.R. § 17.21 do not

23 apply to species listed or re-classified as threatened after September 26, 2019 “unless the Secretary

24 has promulgated species-specific provisions”) and the newly-limited scope of the threats and

25 effects considered in the consultation process is unlikely to adequately protect threatened species.

26 See 50 C.F.R. § 402.02 (redefining “effects of the action”); id. §§ 402.14(c)(8), 402.16(b), 402.17.

27           Second, the new restrictions on critical habitat designation and consultation prevent the

28 Services from protecting species from habitat destruction and, instead, permit cumulative threats
                                                          14
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 22 of 27




 1 that incrementally harm species and their habitats. The final regulations will prevent the

 2 designation of new occupied and unoccupied critical habitat by expanding the circumstances in

 3 which critical habitat designation can be found imprudent and by restricting the designation of

 4 unoccupied habitat to circumstances in which occupied areas alone would fail to ensure species’

 5 conservation. 50 C.F.R. §§ 424.02, 424.12. The Services must not narrow the circumstances in

 6 which critical habitat can be designated because habitat loss is the main driver of extinction.

 7 Martin F.J. Taylor et al., The Effectiveness of the Endangered Species Act: A Quantitative

 8 Analysis, 55(4) BIOSCIENCE at 361-65; Schwartz, The Performance of the Endangered Species

 9 Act, 39 ANN. REV. OF ECOLOGY, EVOLUTION, & SYSTEMATICS at 290; Kieran Suckling & Martin
10 Taylor, Critical Habitat and Recovery in THE ENDANGERED SPECIES ACT AT THIRTY: VOLUME 1

11 RENEWING THE CONSERVATION COMMITMENT (2005). Mitigating further habitat loss through

12 robust and proactive critical habitat designation would support species’ recovery.

13           The final regulations also countenance incremental habitat degradation, which further

14 exacerbates the perils of habitat loss. The regulations permit incremental degradation of habitat

15 provided that the habitat “as a whole” maintains its conservation value. 50 C.F.R. § 402.02. This

16 “as a whole” approach is detrimental to meaningful habitat protection because it both allows

17 incremental harms in the present and prevents future critical habitat designations. It does this by

18 allowing habitat to become degraded until it loses those physical or biological features essential to

19 the conservation of the species—thereby precluding its designation as “critical.” See 16 U.S.C. §

20 1532(5) (defining “critical habitat”).

21           The final regulations also permit the Services to ignore controllable threats in the

22 consultation process. Specifically, the regulations now require that “effects of the [agency] action”

23 considered in consultation would not occur but-for the agency action and that those effects must

24 be reasonably certain to occur. 50 C.F.R. § 402.02. This permits the Services to disregard

25 controllable effects of agency actions that harm species because the agency action is not the sole

26 cause of the threat or because the threat is less likely to happen, without regard to the severity of

27

28
                                                          15
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 23 of 27




 1 the threat. 13

 2               C. The Final Regulations Will Leave Species Vulnerable to Climate Change
                    Related Impacts.
 3

 4           The final regulations fail to protect species threatened by climate change. Ignoring the

 5 threat posed to species by climate change and allowing climate-related threats to continue

 6 unmitigated will only further imperil species. By 2070, between sixteen and fifty-five percent of

 7 species may go extinct. Cristian Román-Palacios & John J. Wiens, Recent responses to climate

 8 change reveal the drivers of species extinction and survival, 117(8) PNAS 4211-4213 (2020).

 9           First, the final regulations provide the Services with excessive discretion to determine
10 when climate-related threats can serve as the basis for threatened classification. A species

11 imperiled by climate-related threats can only be classified as threatened if, in the Services’

12 discretion, those threats are likely to endanger the species within the “foreseeable future.” 50

13 C.F.R. § 424.11(d) (effective Sept. 26, 2019). The new definition of “foreseeable future” is

14 intentionally vague and the determination of what qualifies as the “foreseeable future” will be

15 made on a case-by-case basis. 84 Fed. Reg. at 45,020. This permits the Services to withhold

16 protections from species imperiled by climate-related threats based solely on their discretionary

17 determination of what is “foreseeable,” which the Services can manipulate to serve political will.

18           Further, the final regulations provide the Services with excessive discretion in designating
19 critical habitat. The Services can now avoid critical habitat designation upon a determination that

20 designation would be imprudent because “threats to the species’ habitat stem solely from causes

21 that cannot be addressed through” Section 7 consultation. 50 C.F.R. § 424.12(a)(1)(ii). The final

22 regulation states that the Services can deem critical habitat designation imprudent for species

23 threatened by “melting glaciers, sea level rise, or reduced snowpack.” 84 Fed. Reg. at 45,042. The

24 Services essentially conclude that critical habitat designation is useless, if future consultations for

25 hypothetical agency actions would not address climate-related destruction of species’ habitats.

26
     13
27   For example, in consultation for the proposed construction of a federal right-of-way, the
   development of a private wind farm on non-federal lands would not be an effect of the proposed
28 action considered in consultation if a prospective alternative approach to realize the effect (e.g., a
   private access road) might exist. 84 Fed. Reg. at 44,977.
                                                    16
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 24 of 27




 1 This permits the Services to leave imperiled species vulnerable to climate change and to ignore the

 2 importance of protecting species’ habitats as climate change worsens.

 3           Additionally, this new exception to critical habitat designation, combined with the new

 4 provision preventing unoccupied critical habitat designation without designation of occupied

 5 habitat, 50 C.F.R. § 424.12(b), will prevent the protection of habitat that will be essential for

 6 species survival after climate-induced species migration. See John Kostyack et al., Beyond

 7 Reserves and Corridors: Policy Solutions to Facilitate the Movement of Plants and Animals in a

 8 Changing Climate, 61 BIOSCIENCE 713, 717 (2011). 14 Together, these regulations prevent robust

 9 critical habitat designation, decreasing the likelihood of species survival and rendering useless one
10 of the ESA’s key functions that facilitates species recovery. Suckling & Taylor, Critical Habitat

11 and Recovery, at 89.

12           Second, the final regulations permit the Services to ignore climate-related threats to species
13 and their habitats during Section 7 consultation. The final regulations redefine “effects of the

14 action” considered during consultation as consequences reasonably certain to occur that would not

15 occur but-for the proposed agency action. 50 C.F.R. § 402.02. The final regulations provide the

16 Services with excessive discretion to determine which effects are reasonably certain to occur and

17 which effects will be ignored as tangential or uncertain climate-related threats.

18           Perhaps most importantly, the regulatory changes effectively ensure that any critical
19 habitat that is designated under the new regulatory regime will either be of lower quality or not as

20 expansive as would be designated under the prior regime. This will have dire consequences for

21 species whose habitats are irreparably altered or simply erased due to climate change. Specifically,

22 the final regulations permit the incremental degradation of designated critical habitat, provided

23 that the habitat retains its conservation value “as a whole.” Id. The final regulations also permit the

24 Services to ignore the consequences of proposed agency actions that are “remote in time” or

25 “reached through a lengthy causal chain” in Section 7 consultation. Id. § 402.17(b). These

26

27
     14
     Further, because these post-climate migration habitats will not be protected as “critical,” they
28 will not receive the Section 7 consultation protections that attach to “critical” habitats despite the
   importance of the habitat to species survival.
                                                    17
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 25 of 27




 1 provisions allow the Services to find that climate change-related habitat degradation does not alter

 2 the current conservation value of the habitat “as a whole” and that climate-related impacts upon

 3 the habitat and species are too remote to consider in consultation. This lack of robust critical

 4 habitat designation and protection will ultimately render certain species’ critical habitat unsuitable

 5 to support their recovery as climate change worsens.

 6                                                 CONCLUSION

 7           Because the final regulations considered in this brief contort the ESA’s requirements and

 8 render the “pit bull of environmental laws” 15 toothless, this Court should grant plaintiffs’ motion

 9 for summary judgment and block the implementation of the Services’ final regulations.
10 Dated: January 25, 2021                                Respectfully Submitted,

11
                                                          /s/ Fran M. Layton
12                                                        Fran M. Layton (State Bar No. 111788)
                                                          Shute, Mihaly & Weinberger LLP
13                                                        396 Hayes Street
                                                          San Francisco, California 94102
14                                                        Telephone: (415) 552-7272
                                                          Facsimile: (415) 552-5816
15                                                        layton@smwlaw.com

16                                                        David Albert Schwartz (DC Bar No. 16142355)
                                                          Institute for Public Representation
17                                                        Environmental Law and Justice Clinic
                                                          Georgetown University Law Center
18                                                        600 New Jersey Avenue, NW, Suite 312
                                                          Washington, DC 20001
19                                                        ds1704@georgetown.edu
                                                          [Admitted Pro Hac Vice]
20
                                                          Attorneys for Amici Curiae
21                                                        ENVIRONMENTAL LAW PROFESSORS

22

23

24

25

26

27
     15
     Timothy Egan, Strongest U.S. Environmental Law May Become Endangered Species, N.Y.
28 TIMES (May 26, 1992), https://www.nytimes.com/1992/05/26/us/strongest-us-environment-law-
   may-become-endangered-species.html?pagewanted=all.
                                                18
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 26 of 27




 1                                                  ADDENDUM

 2                                       IDENTITY OF AMICI CURIAE

 3       •   William L. Andreen, Edgar L. Clarkson Professor of Law and Director, Alabama-ANU
             Exchange Program, The University of Alabama School of Law
 4
         •   Michael C. Blumm, Jeffrey Bain Faculty Scholar & Professor of Law, Lewis and Clark
 5           Law School
 6       •   William W. Buzbee, Edward and Carole Walter Professor of Law, Georgetown University
             Law Center
 7
         •   Kim Diana Connolly, Professor of Law, Director of Clinical Legal Education, Vice Dean
 8           for Advocacy and Experiential Education, University at Buffalo School of Law, State
             University of New York
 9
         •   Myanna F. Dellinger, Professor of Law, University of South Dakota School of Law
10
         •   Timothy Duane, Professor in Residence, University of San Diego School of Law
11
         •   Richard M. Frank, Professor of Environmental Practice, Director, California
12           Environmental Law & Policy Center, University of California – Davis School of Law
13       •   Sam Kalen, Associate Dean, William T. Schwartz Distinguished Professor of Law, Co-
             Director, Center for Law and Energy Resources in the Rockies, University of Wyoming
14           College of Law
15       •   Albert C. Lin, Martin Luther King Jr. Professor of Law, University of California – Davis
             School of Law
16
         •   Linda A. Malone, Marshall-Wythe Foundation Professor of Law, William and Mary Law
17           School
18       •   Patrick C. McGinley, Charles H. Haden II Professor of Law, West Virginia University
             College of Law
19
         •   Joel A. Mintz, Professor of Law Emeritus and C. William Trout Senior Fellow in Public
20           Interest Law, Nova Southeastern University College of Law
21       •   Patrick Parenteau, Professor of Law, Senior Counsel, Environmental Advocacy Clinic,
             Vermont Law School
22
         •   Anne Powers, Professor, Pace University Elisabeth Haub School of Law
23
         •   Zygmunt Plater, Professor of Law, Boston College Law School
24
         •   Kalyani Robbins, Morris I. Leibman Professor of Law, Loyola University Chicago School
25           of Law
26       •   Irma S. Russell, Edward A. Smith / Missouri Endowed Chair in Law, the Constitution, and
             Society, University of Missouri-Kansas City School of Law
27
     1330303.2
28
                                                          19
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
     Case 4:19-cv-05206-JST Document 120-1 Filed 01/25/21 Page 27 of 27




 1                                       CERTIFICATE OF SERVICE

 2           At the time of service, I was over 18 years of age and not a party to this action. I am

 3 employed in the County of San Francisco, State of California. My business address is 396 Hayes

 4 Street, San Francisco, California 94102.

 5           I hereby certify that on this 25th day of January, 2021, I electronically filed the foregoing

 6 BRIEF OF ENVIRONMENTAL LAW PROFESSORS AS AMICI CURIAE IN SUPPORT

 7 OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT with the Clerk of the Court

 8 using the CM/ECF system.

 9
10                                                             /s/ Patricia Larkin
                                                               PATRICIA LARKIN
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                          20
     Brief Amici Curiae of Environmental Law Professors
     Case No. 4:19-cv-05206-JST
